Case 1:18-cv-05622-PKC Document7 Filed 07/03/18 Pagelof2 —

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe —
SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLG

Plaintiff(s)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, LLC

Civil Action No. 1:18-cv-05622 (PKC)

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Defendant(s)

SUMMONS IN A CIVIL ACTION

COB ECOMMERCE EMPIRE LLC
1303 W 10th Street
Tempe, AZ 85281

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: :

Paul W. Siegert

307 Fifth Avenue, 4th Floor
New York, NY 10016 :

Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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‘PROOF OF SERVICE .
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me.on (date)

Oj I personally served the summons on the individual at place) —

oti (date) or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,.

on (date) , and mailed a copy to the individual’s last known address; or

C1 1 served the summons on (name of individual) ; who is

designated by law to accept service of process on behalf of (name of organization)

On (date) 3; OF
OT returned the summons unexecuted because ; or
T Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
